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January 17, 2019
BY ECF
Honorable Andrew L. Carter, Jr., U.S.D.J.
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

RE: —JRSK, Inc. v. Prized Ventures Ltd. and Monos Travel Ltd.
18 Civ. 10752 (S.D.N.Y.) — Joint Status Report

Dear Judge Carter:

We represent defendants Prized Ventures Ltd. and Monos Travel Ltd. in the above-
captioned matter and write pursuant to Your Honor’s January 10" Order to provide the
Court with a Joint Status Report.

The parties have made progress since January 10 but have not fully resolved the matter.
Accordingly, both parties request that they be allowed an additional seven (7) days to
continue settlement discussions and then provide the Court with another Joint Status
Report on January 24.

Counsel for plaintiff, JRSK Inc., has reviewed and approved this letter.

Respectfully submitted,

 

McGeary Cukor LLC
LELM tux.
Michael Cukor “————

ce: Richard Lehv (via ECF)

The application is granted,
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Andréw L. Caster Jr, U.S.D.J.
Dated: \/17!/
| NY, New York

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Michael Cukor

McGeary Cukor LLC
7 Dumont Place

54 West 40th Street

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